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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JOSEPH SIDNEY JOHNSON,

    Plaintiff,

         v.                                                 Civil Action No. 17-883 (CKK)

 DISTRICT OF COLUMBIA, et al.,

    Defendants.


                        SCHEDULING AND PROCEDURES ORDER
                                 (September 12, 2018)

       In order to administer this civil action in a manner fair to the litigants and consistent with
the parties’ interest in completing this litigation in the shortest possible time and at the least
possible cost, it is, this 12th day of September, 2018, hereby

       ORDERED that the parties are directed to comply with each of the directives set forth in
this Order. The Court will hold the parties responsible for following these directives; failure to
conform to this Order’s directives may, when appropriate, result in the imposition of
sanctions.

1.             COMMUNICATIONS WITH THE COURT. The parties should endeavor to
keep communications with Chambers to a minimum. Ex parte communications on matters other
than scheduling are strictly prohibited; if the parties need to contact Chambers, it must be done
jointly pursuant to a conference call arranged by the parties.

2.              MOTIONS FOR EXTENSIONS OF TIME AND RE-SCHEDULING OF
HEARINGS. Motions for extensions of time and to re-schedule hearings are strongly
discouraged; they will be granted only in truly exceptional or compelling circumstances and
parties should not expect the Court to grant extensions. The Court will not entertain or honor
stipulations for extensions of time or for the re-scheduling of hearings; parties must file a written
motion in accordance with the following instruction:

                 (a)   Motions for extensions of time must be filed at least four (4) business
                       days prior to the first affected deadline.

                 (b)   Motions to continue a hearing must be filed at least four (4) business
                       days prior to the scheduled hearing.

                 (c)   All motions for extensions of time and for re-scheduling of hearings must


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                      include the following or they will not be considered:

                              (i)     The specific grounds for the extension or the re-scheduling
                                      of the hearing;

                              (ii)    The number of previous extensions or continuances, if any,
                                      granted to each party;

                              (iii)   A statement of the impact that the requested extension or
                                      continuance would have on all other previously set
                                      deadlines;

                              (iv)    A proposed schedule for any other affected deadlines, to be
                                      proposed only after consulting with opposing counsel; and

                              (v)     A statement of whether or not opposing counsel opposes
                                      the motion in accordance with Local Civil Rule 7(m).

        3.      DISCOVERY DISPUTES. The parties are referred to Local Civil Rule 26.2 and
are expected to fully comply with its directives. Moreover, counsel are required, under both
Federal Rule of Civil Procedure 26(f) and Local Civil Rule 7(m), to confer in good faith in an
effort to resolve any discovery dispute before bringing it to the Court’s attention. The parties
shall not file a discovery motion without prior consultation with opposing counsel. If, in
what should be the unusual case, the parties are unable to resolve their discovery dispute, counsel
shall contact Chambers jointly in order to arrange for a telephone conference with the Court.

       4.      DEPOSITIONS. Counsel must adhere to the following guidelines when taking a
deposition:

               (a)    Counsel for the deponent shall refrain from gratuitous comments and from
                      directing the deponent as to times, dates, documents, testimony, and the
                      like;

               (b)    Counsel shall refrain from cuing the deponent by objecting in any manner
                      other than stating an objection for the record followed by a word or two
                      describing the legal basis for the objection;

               (c)    Counsel shall refrain from directing the deponent not to answer any
                      question except for reasons which conform to Federal Rule of Civil
                      Procedure 30(c)(2);

               (d)    Counsel shall refrain from engaging in dialogue on the record during the
                      course of the deposition;

               (e)    If counsel for any party or person given notice of the deposition believes
                      that these conditions are not being adhered to, that counsel may call for



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                    suspension of the deposition and then immediately apply to the Court for a
                    ruling and remedy. When appropriate, the Court will impose sanctions;

             (f)    All counsel are to conduct themselves in a civil, polite, and professional
                    manner. The Court will not countenance incivility or other behavior
                    during the deposition demonstrating that the examination is being
                    conducted in bad faith or to simply annoy, embarrass, or oppress the
                    deponent; and

             (g)    In accordance with Federal Rules of Civil Procedure 30(d)(1), no
                    deposition may last more than seven hours (exclusive of breaks), except
                    by leave of the Court or stipulation of the parties.

      5.      MOTIONS GENERALLY. Parties must comply with the following instructions
when briefing any motion:

             (a)    Memoranda of points and authorities filed in support of or in opposition to
                    any motion may not, without leave of the Court, exceed forty-five (45)
                    pages, and reply memoranda may not exceed twenty-five (25) pages, with
                    margins set at one inch and with all text double-spaced (excepting
                    footnotes) and in twelve-point Times New Roman (including footnotes).

             (b)    A party may not file a sur-reply without first requesting leave of the Court.

             (c)    Where a party fails to file a memorandum of points and authorities in
                    opposition to a given motion, the Court may treat the motion as
                    conceded. L. Civ. R. 7(b). Similarly, where a party fails to respond to
                    arguments in opposition papers, the Court may treat those specific
                    arguments as conceded. Phrasavang v. Deutsche Bank, 656 F. Supp. 2d
                    196, 201 (D.D.C. 2009).

             (d)    Exhibits shall be properly edited to exclude irrelevant material and to
                    direct the Court’s attention to the pertinent portions thereof.

             (e)    Each submission shall be accompanied by a table of cases and other
                    authorities cited therein.

             (f)    Every pleading or paper, regardless of whether it is signed by an attorney
                    or a pro se party, shall contain the name, address, telephone number, and,
                    for an attorney, bar identification number. L. Civ. R. 5.1(c).

       6.      MOTIONS FOR SUMMARY JUDGMENT Parties must comply with the
following instructions when briefing motions for summary judgment and the Court may strike
papers not in conformity therewith:

             (a)    The Court strictly adheres to the dictates of Local Civil Rule 7(h),


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                      which requires that each party submitting a motion for summary judgment
                      attach a statement of material facts for which that party contends there is
                      no genuine dispute, with specific citations to those portions of the record
                      upon which the party relies in fashioning the statement. The party
                      opposing the motion must, in turn, submit a statement enumerating all
                      material facts which the party contends are genuinely disputed and thus
                      require trial. L. Civ. R. 7(h)(1). The parties are strongly encouraged to
                      carefully review Jackson v. Finnegan, Henderson, Farabow, Garrett &
                      Dunner, 101 F.3d 145 (D.C. Cir. 1996), on the subject of Local Civil Rule
                      7(h).

               (b)    The moving party’s statement of material facts shall be a short and concise
                      statement, in numbered paragraphs, of all material facts as to which the
                      moving party claims there is no genuine dispute. The statement must
                      contain only one factual assertion in each numbered paragraph.

               (c)    The party responding to a statement of material facts must respond to each
                      paragraph with a correspondingly numbered paragraph, indicating
                      whether that paragraph is admitted or denied. If a paragraph is admitted
                      only in part, the party must specifically identify which parts are admitted
                      and which parts are denied.

               (d)    The Court may assume that facts identified by the moving party in its
                      statement of material facts are admitted, unless such facts are
                      controverted in the statement filed in opposition to the motion. L. Civ. R.
                      7(h)(1).

               (e)    The responding party must include any information relevant to its
                      response in its correspondingly numbered paragraph, with specific
                      citations to the record. However, if the responding party has additional
                      facts that are not directly relevant to its response, it must identify such
                      facts in consecutively numbered paragraphs at the end of its responsive
                      statement of facts. If additional factual allegations are made, the
                      opponent must file a responsive statement of its own.

               (f)    The parties must furnish precise citations to the portions of the record on
                      which they rely; the Court need not consider materials not specifically
                      identified. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

        7.     MOTIONS FOR RECONSIDERATION. Motions for reconsideration of prior
rulings are strongly discouraged. Such motions shall be filed only when the requirements of
Federal Rules of Civil Procedure 54(b), 59(e), and/or 60(b) are met. If such a motion is filed, it
shall not exceed ten (10) pages in length. Moreover, the Court will not entertain: (a) motions
which simply reassert arguments previously raised and rejected by the Court; or (b) arguments
which should have been previously raised, but are being raised for the first time. Fielding v. BT
Alex Brown, 116 F. Supp. 2d 59, 65 (D.D.C. 2000). Motions not in compliance with these


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instructions may be stricken.

        8.     COURTESY COPIES. The parties shall deliver one (1) courtesy copy of any
submission that is over twenty-five (25) pages in length—including all attachments and separate
documents—or that includes more than one (1) exhibit to the Court Security Officer at the
loading dock located at Third and C Streets (not the Clerk’s Office or Chambers). Courtesy
copies shall be appropriately bound and tabbed for ease of reference.

        9.     SETTLEMENT. The parties are expected to evaluate their respective cases for
purposes of settlement. The Court encourages the use of alternative dispute resolution—e.g.,
mediation or neutral case evaluation. The use of these methods is available at any time, as is a
settlement conference before a magistrate judge. If counsel are interested in pursuing these
options, they may contact Chambers at any time. If the case settles in whole or in part, counsel
shall promptly advise the Court.

       10.     APPEARANCES AT HEARINGS. Principal trial counsel must appear at all
hearings unless excused by the Court in advance.

       It is FURTHER ORDERED that the parties shall adhere to the following schedule:

               (a)    Defendants’ Motion for Summary Judgment shall be due on or before
                      NOVEMBER 13, 2018;
               (b)    Plaintiff’s Response shall be due on or before JANUARY 14, 2019; and
               (c)    Defendants’ Reply, if any, shall be due on or before JANUARY 28,
                      2019.

        Additional dates will be set as necessary. The dates identified above are firm; the Court
has endeavored to give the parties the schedule that they have requested and expects that they
will adhere to that schedule.

       SO ORDERED.



Date: _September 12, 2018______                     ______/s/______________________
                                                    COLLEEN KOLLAR-KOTELLY
                                                    United States District Judge




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